

Matter of Prignoli (2016 NY Slip Op 05922)





Matter of Prignoli


2016 NY Slip Op 05922


Decided on August 31, 2016


Appellate Division, Second Department


Per Curiam.



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 31, 2016
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

RANDALL T. ENG, P.J.
MARK C. DILLON
RUTH C. BALKIN
JOHN M. LEVENTHAL
SANDRA L. SGROI, JJ.


2016-03946

[*1]In the Matter of Robert Prignoli, an attorney and counselor-at-law. Grievance Committee for the Second, Eleventh, and Thirteenth Judicial Districts, petitioner; Robert Prignoli, respondent. (Attorney Registration No. 2284198)



APPLICATION by the Grievance Committee for the Second, Eleventh, and Thirteenth Judicial Districts pursuant to 22 NYCRR 691.3 to impose discipline on the respondent based upon disciplinary action taken against him by the Supreme Court of New Jersey. The respondent was admitted to the Bar in the State of New York at a term of the Appellate Division of the Supreme Court in the Second Judicial Department on September 13, 1989.



Diana Maxfield Kearse, Brooklyn, NY (Susan Korenberg of counsel), for petitioner.
Robert Prignoli, respondent pro se.



PER CURIAM.


OPINION &amp; ORDER
By order filed March 4, 2016, the Supreme Court of New Jersey publicly reprimanded the respondent for violation of New Jersey Rules of Professional Conduct (hereinafter RPC) 1.3 (lack of diligence), RPC 1.4(b) (failure to keep a client reasonably informed about the status of a matter), and RPC 1.15(b) (failure to promptly deliver to the client or third party any funds that the client or third party is entitled to receive).
The New Jersey Office of Attorney Ethics (hereinafter the OAE) filed a motion for discipline by consent based on a stipulation signed by the OAE and the respondent dated October 15, 2015, wherein it was agreed that the respondent violated RPC 1.3, RPC 1.14(b), and RPC 1.15(b). The parties further agreed that the conduct warranted either a reprimand or lesser discipline.
By letter dated February 26, 2016, the Disciplinary Review Board of the Supreme Court of New Jersey (hereinafter the DRB) reviewed the OAE's motion, granted the motion, and determined that a reprimand was warranted. The underlying misconduct, as revealed in that letter, is as follows:
The respondent represented three buyers in the purchase of residential real estate located in New York, owned by Mary Abernathy. A title search conducted by Icon Abstracts Solutions, Inc. (hereinafter Icon), of which the respondent was a co-owner, revealed three "ancient" mortgages. Consequently, the parties to the transaction agreed that Icon would hold $33,000 from the sale proceeds in escrow until the mortgages were discharged and title cleared. New York had in place a statutory framework to discharge such "ancient" mortgages of record. Abernathy, who later died, and her son retained the respondent to clear title on the property. During the course of his representation for that purpose, the respondent did not exercise due diligence, causing the unopposed [*2]action to quiet title to unnecessarily span over two years. During that time period, he refused to respond to reasonable questions posed on behalf of Abernathy's estate by her children (one of whom was her executor) and the estate's attorney. Moreover, the respondent took the position with the estate's new attorney that he "had never held any escrow monies on behalf of Mary," ignoring his principal ownership of Icon and his related fiduciary duties. Additionally, he attempted to demand payment of an additional $500 in legal fees for his "continued cooperation"—presumably the necessary instruction to Icon to disburse Abernathy's escrow funds.
By order filed March 4, 2016, the Supreme Court of New Jersey publicly reprimanded the respondent for violation of RPC 1.3, RPC 1.4(b), and RPC 1.15(b), and directed the respondent to reimburse the Disciplinary Oversight Committee for the appropriate administrative costs and actual expenses incurred in the prosecution of the matter.
On May 18, 2016, the Grievance Committee served the respondent, by regular mail, on consent, with a copy of the notice.
The respondent has submitted a letter response dated June 3, 2016, wherein he asks for the imposition of the lightest sanction. He acknowledges that he stipulated to the above findings. Nonetheless, he wishes to note that the New Jersey disciplinary authorities were "incapable of adequately judging the pace of a Queens County adjudication," suggesting that the delay was attributable to the court system and the "glacial pace" at which it operates. The respondent concedes that he should have been more communicative with his clients. He accepts responsibility for his actions, noting in mitigation that he has practiced law for 25 years and has had "very few" complaints filed against him during that stretch of time.
Based on the findings of the Supreme Court of New Jersey, we find that reciprocal discipline is warranted. Accordingly, the Grievance Committee's application to impose reciprocal discipline is granted, and the respondent is publicly censured.
ENG, P.J., DILLON, BALKIN, LEVENTHAL and SGROI, JJ., concur.
ORDERED that the Grievance Committee's application is granted; and it is further,
ORDERED that pursuant to 22 NYCRR 691.3, the respondent, Robert Prignoli, is publicly censured for his professional misconduct.
ENTER:
Aprilanne Agostino
Clerk of the Court








